        Case 1:22-mj-00020-RMM Document 1-1 Filed 02/02/22 Page 1 of 28




                                STATEMENT OF FACTS

        Your affiant, Brian J. Surer, is a Special Agent with the Federal Bureau of Investigation
(FBI). I am assigned to the Raleigh Resident Agency of the FBI Charlotte Field Office in North
Carolina. Currently, I am tasked with investigating criminal activity in and around the United
States Capitol on January 6, 2021. As a Special Agent, I am authorized by law or by a Government
agency to investigate violations of Federal criminal laws.

        The U.S. Capitol is secured twenty-four hours a day by the United States Capitol Police
(USCP). Restrictions around the Capitol include permanent and temporary security barriers and
posts manned by USCP. Only authorized people with appropriate identification were allowed
access inside the Capitol. On January 6, 2021, the exterior plaza of the Capitol was also closed to
members of the public.

       On January 6, 2021, a joint session of the United States Congress convened at the Capitol,
which is located at First Street, SE, in Washington, D.C. During the joint session, elected members
of the United States House of Representatives and the United States Senate were meeting in the
House Chamber of the Capitol to certify the vote count of the Electoral College of the 2020
Presidential Election, which had taken place on Tuesday, November 3, 2020. The Joint Session
began at approximately 1:00 PM. Shortly thereafter, by approximately 1:30 PM, the House and
Senate adjourned to separate chambers to resolve a particular objection. Vice President Mike
Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the Capitol. As
noted above, barricades—both temporary and permanent—were in place around the exterior of the
Capitol, and USCP were present and attempting to keep the crowd away from the Capitol and the
proceedings underway inside.

       At such time, the certification proceedings were still underway, and the exterior doors and
windows of the Capitol were locked or otherwise secured. Members of the USCP attempted to
maintain order and keep the crowd from entering the Capitol. Shortly after 2:00 PM, however,
individuals in the crowd forced entry into the Capitol using unlawful methods that included
breaking windows and assaulting USCP officers. Others in the crowd encouraged and assisted
those acts.

        Shortly thereafter, at approximately 2:20 PM, members of the House of Representatives
and the Senate, including the President of the Senate, Vice President Pence, were instructed to and
did evacuate the chambers. Accordingly, the Joint Session of Congress was effectively suspended
until shortly after 8:00 PM. Vice President Pence remained in the Capitol from the time he was
evacuated from the Senate Chamber until the sessions resumed.

        During national news coverage of the attack on the Capitol, video footage which appeared
to be captured on mobile devices of persons present on the scene depicted violations of local and
federal law, including scores of individuals inside the Capitol without permission or authority. One
such individual is the defendant, MATTHEW JASON BEDDINGFIELD.



                                            Page 1 of 28
           Case 1:22-mj-00020-RMM Document 1-1 Filed 02/02/22 Page 2 of 28




                    The Identification of Matthew Jason Beddingfield and
                           His Participation in the Capitol Breach

         On January 6, 2021, while the attack on the Capitol was unfolding, an unprecedented
number of posts, pictures, videos, livestreams, and other self-produced cellphone content was
being publicly shared across social media across the internet, often by the perpetrators of the attack
on the Capitol. Previously unaffiliated private citizens began identifying individuals and groups
that attacked law enforcement and breached the Capitol and reporting those leads to the FBI. One
such lead identified the defendant in this case, Matthew Jason Beddingfield, a twenty-one-year-
old male and a resident of Middlesex, Johnston County, North Carolina.

        On January 26, 2021, the Metropolitan Police Department released a PDF containing
roughly 175 slides of “Persons of Interest in Unrest-Related Offenses.” 1 The following image is
taken from Slide # 175.




IMAGE 1—A slide distributed by the Metropolitan Police Department showing persons of interest in the attack on
the Capitol. As further described below, the individual on the right—circled in red—has been identified as Matthew
Jason Beddingfield.


       Based on my review of various publicly available online resources, I am aware that
sometime in the weeks that followed MPD’s release of their Persons of Interest PDF, the individual
now known as Beddingfield was associated with two hashtags: #SoggyKidInsider (possibly
because he is pictured emerging from the Capitol covered in what appears to be a liquid), and


1
    https://mpdc.dc.gov/sites/default/files/dc/sites/mpdc/publication/attachments/POIs%20of%20Interest_1.26.21.pdf



                                                     Page 2 of 28
         Case 1:22-mj-00020-RMM Document 1-1 Filed 02/02/22 Page 3 of 28




#NaziGrayHat (possibly because he appeared to make a gesture that is commonly associated with
the Nazis).

        In March 2021, a news media article was published about the role of private citizens in the
identification and investigation of Beddingfield.2 The author of the article supplemented it with a
series of tweets. In the article, the journalist reports that private citizens used a website with
publicly available facial recognition software to connect the publicly available images of
#SoggyKidInsider/#NaziGrayHat to a publicly available mugshot of Beddingfield. The mugshot
was taken following Beddingfield’s arrest in December 2019 for local charges out of the Johnston
County, North Carolina, District Attorney’s office.




IMAGE 2—A composite image showing Beddingfield’s mugshot (top left) and an edited photograph of Beddingfield
taken by Amy Harris on Capitol grounds on January 6, as created and published by HuffPost.




2
 See Ryan J. Reilly & Jesselyn Cook, The Hidden Hand Of Facial Recognition In The Capitol Insurrection Manhunt,
HUFFPOST (Mar. 26, 2021, 4:12 PM), https://www.huffpost.com/entry/facial-recognition-capitol-matthew-
beddingfield_n_605cc93fc5b67ad3871dad4e; @HuffPost, TWITTER              (Mar. 26, 2021, 5:30 PM),
https://twitter.com/HuffPost/status/1375560691533324288; Ryan J. Reilly (@ryanjreilly), TWITTER (Apr. 6, 2021,
2:30 PM), https://twitter.com/ryanjreilly/status/1379501786873102338.



                                                 Page 3 of 28
            Case 1:22-mj-00020-RMM Document 1-1 Filed 02/02/22 Page 4 of 28




        After January 6, 2021, ProPublica collected and organized videos that users uploaded to
Parler (another social media site). Private citizens noted that one such video shows an individual
now known to be Beddingfield walking out of the North Door of the Capitol at approximately
3:07 PM.3 On February 22, 2021, a Twitter account with the name #SeditionHunters
(@SeditionHunters) shared a composite image asking for the public’s assistance in identifying
#soggykidinsider.4




IMAGE 3 and IMAGE 4 (l to r)— A screenshot of Beddingfield exiting the Capitol taken from a Parler video on
ProPublica’s website “What Parler Saw During the Attack on the Capitol”; and a tweet from @SeditionHunters
asking for assistance from the public in identifying the individual in the three pictures.


          Evidence Supporting the Identification of Matthew Jason Beddingfield

        In the news media article about Beddingfield, reporters refer to an interview with an
individual known as J.B., a man who identifies himself as Matthew Jason Beddingfield’s father.5
In the article, J.B. told the reporter “that his son wasn’t at the Capitol on Jan. 6, and that indeed
Matthew had never been there before at all.” 6 Photographs posted on November 15, 2020, to J.B.’s
publicly viewable Facebook account show that the father and son appear to have previously
traveled to Washington, D.C., to attend an event that called itself the Million MAGA March.7




3
    https://projects.propublica.org/parler-capitol-videos/?id=XBDMuKJHZYGP
4
  @SeditionHunters, TWITTER (Feb. 22, 2021, 1:10 PM), https://twitter.com/SeditionHunters/status/1363898991012
962305.
5
    See fn. 2.
6
    Id.
7
    https://www.bbc.com/news/world-us-canada-54945154



                                                  Page 4 of 28
        Case 1:22-mj-00020-RMM Document 1-1 Filed 02/02/22 Page 5 of 28




IMAGE 5 and IMAGE 6—Screenshots of posts made on J.B’s publicly available Facebook page dated November 14,
2020, and November 15, 2020.




IMAGE 7, IMAGE 8, and IMAGE 9—Three photographs showing an individual that appears to be J.B.and his son,
Matthew Jason Beddingfield in Washington, D.C., in November 2020.



                                               Page 5 of 28
         Case 1:22-mj-00020-RMM Document 1-1 Filed 02/02/22 Page 6 of 28




       The two individuals from Image 7 appear to match the individuals pictured in a December
2020 local news video showing a court proceeding for Matthew Beddingfield, further
corroborating the identity, flags, and footwear of Matthew Beddingfield.8




IMAGE 10 and IMAGE 11—Screenshots from a WRAL news report on the Walmart parking lot shooting, a crime to
which Matthew Beddingfield has since pled and been sentenced.

        On January 6, 2021, J.B. posted publicly to Facebook, stating: WE ARE HERE TO
TAKE THIS COUNTRY BACK FROM THOSE COMMIE BASTARDS. When one commenter
asked if he was in Washington again, J.B. replied, “Yessir.”




IMAGE 12—Screenshot of a post made on J.B.’s publicly available Facebook page dated January 6, 2021.


8
  https://www.wral.com/father-of-accused-shooter-at-smithfield-walmart-this-wouldn-t-have-happened-if-he-hadn-t-
been-robbed/18832057/; see also fn. 2.



                                                 Page 6 of 28
         Case 1:22-mj-00020-RMM Document 1-1 Filed 02/02/22 Page 7 of 28




        Beddingfield’s Known Activities While Outside the U.S. Capitol 9 10

       After identifying the individual in Image 3 as Matthew Beddingfield, federal agents
reviewed the clothing worn by #SoggyKidInsider/#NaziGrayHat on January 6, 2021. Additionally,
the photographs from the November 14, 2020 rally were compared to the January 6, 2021
photographs, which yielded visual comparisons. Specifically, Matthew Beddingfield’s shoes are
the same, as is the silver/metallic flagpole he had with him.




IMAGE 13, IMAGE 14, and IMAGE 15 (l to r, top to bottom)—A cropped screenshot from a YouTube video
(https://youtu.be/N-l5EZjH69Q?t=1620) in which private citizens identified J.B. and Matthew Beddingfield together
and a comparison of that screenshot to a photograph of Matthew Beddingfield in Washington, D.C., on Nov. 14, 2020;
and a screenshot from the HuffPost’s video.


9
  To the extent they are shown, the timestamps are in Coordinated Universal Time (UTC), which on January 6, 2021,
was five hours ahead of Eastern Standard Time (EST). For example, a timestamp of 17:00 UTC would indicate an
EST of 12:00, or 12:00 PM.
10
  The red rounded squares are not part of the original surveillance footage. They were added during the investigative
process to assist anyone who reads the document in quickly finding Conover amongst the sea of rioters.



                                                    Page 7 of 28
         Case 1:22-mj-00020-RMM Document 1-1 Filed 02/02/22 Page 8 of 28




       Having now identified that on January 6, 2021, Matthew Beddingfield was wearing a two-
tone gray and black jacket, gray pants, black and white Nike shoes, and holding an American flag
on a metal pole, law enforcement identified additional videos and screenshots showing Matthew—
now separated from his father—approaching the West Plaza of the Capitol.




IMAGE 16 and IMAGE 17—An image taken from HuffPost reporter Ryan J. Reilly’s thread showing Beddingfield
walking towards the SW scaffolding of the Western Plaza of the Capitol via the Maryland Walkway sometime between
12:55 PM and 12:57 PM; and a map created by private citizens with a red star indicating the approximate location
of Beddingfield in the image (https://jan6attack.com/maps.htm).




                                                 Page 8 of 28
        Case 1:22-mj-00020-RMM Document 1-1 Filed 02/02/22 Page 9 of 28




         From there, USCP surveillance video shows Beddingfield running onto the West Plaza of
the Capitol at approximately 12:57 PM. Beddingfield approaches USCP at the barricade, and when
their attention is diverted by the throng of rioters flooding the plaza from the north, he jumps the
barricade.




IMAGE 18 and IMAGE 19—Screenshots taken from USCP surveillance showing Beddingfield approaching the West
Plaza and crossing a police barricade.




                                              Page 9 of 28
        Case 1:22-mj-00020-RMM Document 1-1 Filed 02/02/22 Page 10 of 28




IMAGE 20 and IMAGE 21—Screenshots taken from USCP surveillance showing Beddingfield approaching the
police line that had fallen back to protect a staircase that leads up to the Capitol and runs under the temporary SW
scaffolding; a screenshot from a publicly available video (https://www.bitchute.com/video/mNmU8tvsrkep/) showing
Beddingfield jabbing at and striking law enforcement officers with the American flag attached to a metallic flagpole
he brought with him to Washington, D.C.




                                                   Page 10 of 28
        Case 1:22-mj-00020-RMM Document 1-1 Filed 02/02/22 Page 11 of 28




IMAGE 22—A screenshot taken from USCP surveillance showing Beddingfield jabbing at and striking law
enforcement officers with the American flag attached to a metallic flagpole he brought with him to Washington, D.C.,
at approximately 1:06 PM.



                 11




IMAGE 23—A photograph that appears to show Beddingfield in the middle of a group of rioters that are clashing
with the U.S. Capitol Police on the West Plaza of the Capitol.16


11
   Adam Gray (@agrayphoto), TWITTER (Jan. 13, 2021, 8:56 PM), https://twitter.com/agrayphoto/status/
1349520772696571905.


                                                   Page 11 of 28
        Case 1:22-mj-00020-RMM Document 1-1 Filed 02/02/22 Page 12 of 28




IMAGE       24    and     IMAGE       25—A     screenshot taken    from    a    publicly   available   video
(https://www.bitchute.com/video/mNmU8tvsrkep/) showing Beddingfield with an outstretched arm held upwards at
an angle with the palm down; and USCP surveillance showing Beddingfield making that same gesture on the West
Plaza of the Capitol at approximately 1:07 PM.




                                               Page 12 of 28
        Case 1:22-mj-00020-RMM Document 1-1 Filed 02/02/22 Page 13 of 28




        Another video shows Beddingfield holding what appears to be a metal rod and throwing it
at the police line. Based on my review of this and other videos of the events of the attack on law
enforcement carried out on the West Plaza, the rod may be either a piece of the metal flagpole he
carried with him or a piece of one of the barricades (AKA bike racks) that rioters pulled away from
law enforcement and dismantled.




IMAGE        26    and    IMAGE        27—A    screenshot  taken    from   a    publicly    available    video
(https://www.bitchute.com/video/mNmU8tvsrkep/) showing Beddingfield throwing what appears to be a metal pole or
rod at law enforcement officers; and a photograph that appears to show Beddingfield behind indicted defendant
Robert Gieswein (21-CR-24 (EGS)) on the West Plaza as seen on a publicly available website
(https://jan6attack.com/individuals/wilddog/1yEH_XgWBkNVqILyoAREryPt2hoqaNLL6.jpeg).



                                                Page 13 of 28
        Case 1:22-mj-00020-RMM Document 1-1 Filed 02/02/22 Page 14 of 28




IMAGE 28—A screenshot from the above-cited (fn. 2) HuffPost video showing Beddingfield now on the north side of
the West Plaza, standing on a wall and taking a picture of his flag.




                                                Page 14 of 28
        Case 1:22-mj-00020-RMM Document 1-1 Filed 02/02/22 Page 15 of 28




IMAGE        29    and    IMAGE      30—A     screenshot    taken    from     a    publicly     available     video
(https://jan6archive.com/youtube/qSv4oifsb-g.mp4) showing Beddingfield continuing to scale the steps of the western
front of the Capitol; and a screenshot from USCP surveillance showing Beddingfield entering the Capitol via the
Upper West Terrace door at approximately 2:38 PM.



                                                  Page 15 of 28
        Case 1:22-mj-00020-RMM Document 1-1 Filed 02/02/22 Page 16 of 28




IMAGE 31 and IMAGE 32—USCP surveillance screenshots showing Beddingfield entering via a first floor door on
the Upper West Terrace and then parading around the Rotunda with his flag at approximately 2:40 PM.




                                               Page 16 of 28
        Case 1:22-mj-00020-RMM Document 1-1 Filed 02/02/22 Page 17 of 28




IMAGE        33     and      IMAGE        34—A      screenshot      from     a     publicly     available   video
(https://www.newsflare.com/video/402653/mob-incited-by-trump-storms-interior-of-capitol-including-offices-of-
mcconnell-and-pelosi-in-terrifying-act) showing Beddingfield attacking law enforcement with his flag while at the
front of a crowd that is attempting to breach a police line near the Old Senate Chamber in the Capitol; and a
screenshot from a video provided by a French news media company where the reporter is in the Small Senate Rotunda
and Beddingfield—apparently reacting to the effects of a chemical irritant—can be seen in the background.



                                                 Page 17 of 28
        Case 1:22-mj-00020-RMM Document 1-1 Filed 02/02/22 Page 18 of 28




IMAGE 35 and IMAGE 36— USCP surveillance showing Beddingfield returning to the Rotunda at approximately
2:54 PM; and USCP surveillance showing Beddingfield entering the foyer between the Rotunda and the East Rotunda
Doors at approximately 2:55 PM.



                                                Page 18 of 28
       Case 1:22-mj-00020-RMM Document 1-1 Filed 02/02/22 Page 19 of 28




IMAGE 37 and IMAGE 38—USCP surveillance showing Beddingfield entering a room of the Capitol at
approximately 1:58 PM and returning at approximately 3:02 PM with several bottles of water.



                                         Page 19 of 28
        Case 1:22-mj-00020-RMM Document 1-1 Filed 02/02/22 Page 20 of 28




IMAGE 39 and IMAGE 40—USCP surveillance showing Beddingfield returning to the foyer between the Rotunda
and the East Columbus Door before continuing north via a hallway that runs along the eastern front of the Capitol.




                                                  Page 20 of 28
       Case 1:22-mj-00020-RMM Document 1-1 Filed 02/02/22 Page 21 of 28




IMAGE 41 and IMAGE 42—USCP surveillance showing Beddingfield continuing to walk north via the east front
corridor and approaching the Senate Chamber.




                                             Page 21 of 28
       Case 1:22-mj-00020-RMM Document 1-1 Filed 02/02/22 Page 22 of 28




IMAGE 43 and IMAGE 44—USCP surveillance showing Beddingfield entering the area just outside the Senate
Chamber before returning to the hallway where he appears to take pictures.




                                            Page 22 of 28
        Case 1:22-mj-00020-RMM Document 1-1 Filed 02/02/22 Page 23 of 28




IMAGE 45 and IMAGE 46—USCP surveillance showing Beddingfield reentering the area just outside the Senate
Chamber where a law enforcement appears to gesture for him to leave; and Beddingfield making his way down to the
first floor.




                                                 Page 23 of 28
       Case 1:22-mj-00020-RMM Document 1-1 Filed 02/02/22 Page 24 of 28




IMAGE 47 and IMAGE 48—USCP surveillance showing Beddingfield exiting the Capitol through the North Door
of the Capitol.




                                             Page 24 of 28
       Case 1:22-mj-00020-RMM Document 1-1 Filed 02/02/22 Page 25 of 28




IMAGE 49—A Getty Images photograph taken by Robert Nickelsberg showing Beddingfield walking along the
northern side of the Capitol.




                                            Page 25 of 28
       Case 1:22-mj-00020-RMM Document 1-1 Filed 02/02/22 Page 26 of 28




      An Overall Summary of Beddingfield’s Conduct, Based on Review of
                    Surveillance and Open-Source Media

        On January 6, 2021, Matthew Jason Beddingfield is seen on restricted grounds towards the
front of a crowd that is storming up the Maryland Walkway, past the SW Scaffolding. He arrives
at the West Plaza of the Capitol at approximately 12:57 PM.

       A minute later, at approximately 12:58 PM, Beddingfield jumps over a barricade and
charges towards a group of USCP officers who are near the SW Scaffolding. After the crowd
surrounds the officers, and at approximately 1:06 PM, Beddingfield attacks the officers, jabbing
at them with the metal flagpole he brought with him. At approximately 1:07 PM, Beddingfield
then makes the outstretched-arm gesture with his palm down while facing the Capitol.

        Over the course of the subsequent twenty minutes or so, Beddingfield crosses from the
south side of the West Plaza to the north side. He is next seen standing on a marble parapet on the
north side of the West Plaza, and then climbing the stairs to the Upper West Terrace. At
approximately 2:38 PM, Beddingfield enters the Capitol.

        Once inside, Beddingfield goes up to the Rotunda where he walks some laps, waving his
flag and stomping around. Before long, Beddingfield joins a group of rioters who attempt to storm
the Senate Wing. He and the mob get as far as the area outside the Old Senate Chamber.
Beddingfield is once again towards the front of the group of rioters, and once again, Beddingfield
appears to use his metal flagpole to strike or attempt to strike law enforcement officers.
Beddingfield and the other rioters return to the Great Rotunda after a chemical irritant is deployed.

        From the Rotunda, Beddingfield makes his way east towards the East Rotunda Doors, but
instead of leaving, at approximately 2:58 PM, Beddingfield goes into a room of the Capitol and
reappears four minutes later with several bottles of water. He makes his way back through the
foyer that sits between the Rotunda and the East Rotunda Doors, but instead of exiting, he walks
north towards the Senate Wing. While in a corridor that runs along the east front of the Capitol,
Beddingfield, uses a drinking fountain to wash out his eyes, stops at a window, and appears to take
pictures.

        At about 3:04 PM, Beddingfield enters the corridor just outside the Senate Chamber where
a Capitol police officer appears to gesture for him to leave. Beddingfield descends the Goodman
staircase and at approximately 3:07 PM, he leaves the Capitol, having spent approximately thirty
minutes inside the Capitol and over two hours on restricted Capitol grounds.

  Confirmation of Identification of Beddingfield (PROBATION OFFICER)

       As stated above, the defendant, Matthew Jason Beddingfield, has recently received a
criminal sentence involving probation. As such, he has been assigned a Probation Officer from the
North Carolina Department of Public Safety/Community Corrections. His Probation Officer has
seen IMAGE 2, IMAGE 3, IMAGE 4, IMAGE 7, IMAGE 9, IMAGE 30, and IMAGE 49
contained in this document. His Probation Officer identified the individual in each of those images
as Matthew Jason Beddingfield.


                                            Page 26 of 28
       Case 1:22-mj-00020-RMM Document 1-1 Filed 02/02/22 Page 27 of 28




   Probable Cause to Issue Arrest Warrant for Matthew Jason Beddingfield

        Based on the foregoing, your affiant submits there is probable cause to believe that
MATTHEW JASON BEDDINGFIELD violated 18 U.S.C. § 111(b), which makes it unlawful to
use a deadly or dangerous weapon to forcibly assault, resist, oppose, impede, intimidate, or
interfere with any person designated in 18 U.S.C. § 1114 while engaged in or on account of the
performance of official duties.

       For purposes of 18 U.S.C. § 111, a designated person includes any officer or employee of
the United States or of any agency in any branch of the United States Government (including any
member of the uniformed services), or any person assisting such an officer or employee in the
performance of or on account of official duties.

       Your affiant further submits there is probable cause to believe that MATTHEW JASON
BEDDINGFIELD violated 18 U.S.C. § 231(a)(3), which makes it unlawful to commit or attempt
to commit any act to obstruct, impede, or interfere with any fireman or law enforcement officer
lawfully engaged in the lawful performance of his official duties incident to and during the
commission of a civil disorder which in any way or degree obstructs, delays, or adversely affects
commerce or the movement of any article or commodity in commerce or the conduct or
performance of any federally protected function.

        For purposes of 18 U.S.C. § 231, a federally protected function means any function,
operation, or action carried out, under the laws of the United States, by any department, agency,
or instrumentality of the United States or by an officer or employee thereof. This includes the Joint
Session of Congress where the Senate and House count Electoral College votes.

         Your affiant further submits that there is probable cause to believe that MATTHEW
JASON BEDDINGFIELD violated 18 U.S.C. § 1752(a)(1)—which makes it a crime to use or
carry a deadly or dangerous weapon during and in relation to knowingly entering or remaining in
any restricted building or grounds without lawful authority to do so; 18 U.S.C. § 1752(a)(2)—
which makes it a crime to use or carry a deadly or dangerous weapon during and in relation to
knowingly, and with intent to impede or disrupt the orderly conduct of Government business or
official functions, engaging in disorderly or disruptive conduct in, or within such proximity to, any
restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the
orderly conduct of Government business or official functions; and 18 U.S.C. § 1752(a)(4)—which
makes it a crime to use or carry a deadly or dangerous weapon during and in relation to knowingly
engaging in any act of physical violence against any person or property in any restricted building
or grounds; or attempting or conspiring to do so.

        For purposes of 18 U.S.C. § 1752, a “restricted building” includes a posted, cordoned off,
or otherwise restricted area of a building or grounds where the President or other person protected
by the Secret Service, including the Vice President, is or will be temporarily visiting; or any
building or grounds so restricted in conjunction with an event designated as a special event of
national significance.




                                            Page 27 of 28
       Case 1:22-mj-00020-RMM Document 1-1 Filed 02/02/22 Page 28 of 28




        Your affiant submits there is also probable cause to believe that MATTHEW JASON
BEDDINGFIELD violated 40 U.S.C. § 5104(e)(2)(D) through (G), which make it a crime to
willfully and knowingly (D) utter loud, threatening, or abusive language, or engage in disorderly
or disruptive conduct, at any place in the Grounds or in any of the Capitol Buildings with the intent
to impede, disrupt, or disturb the orderly conduct of a session of Congress or either House of
Congress, or the orderly conduct in that building of a hearing before, or any deliberations of, a
committee of Congress or either House of Congress; (E) obstruct, or impede passage through or
within, the Grounds or any of the Capitol Buildings; (F) engage in an act of physical violence in
the Grounds or any of the Capitol Buildings; and (G) parade, demonstrate, or picket in any of the
Capitol Buildings.



                                                      Brian J. Surer
                                                      Special Agent
                                                      Federal Bureau of Investigation


        Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 2nd day of February 2022.                           Robin M. Meriweather
                                                                       2022.02.02 15:14:17
                                                                       -05'00'

                                                    HON. ROBIN M. MERIWEATHER
                                                    U.S. MAGISTRATE JUDGE




                                            Page 28 of 28
